         Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 1 of 19




                                                      A .. --DISTRICT COURT

                                                           F ON E Tf UT
                                                           )   1


                                               Qraml l l.ll·y N· 18-2
                                           I
                                       t

  NIT D ST TE         FAMERf                    I '    '
                                                                    RJMTNA     N       3:18-CR-48 (VAB)

        v.                                                         VIOLATION:
                                                                   18 U.S.C. § 1343 (Wire Fraud)
ROBERT V. MATTHEWS,                                                18 U.S.C. § 1344 (Bank Fraud)
LESLIE R. EVANS, and                                               18 U.S.C. § 1349 (Conspiracy)
MARIA MATTHEWS,                                                    18 U.S.C. § 1957 (Illegal Monetary Transactions)
 also known as "Mia Matthews"                                      26 U.S.C. § 7201 (Tax Evasion)
                                                                   18 U.S.C. § 2 (Aiding and Abetting)

                                  SUJ?ERSEDJNG INDICTMENT

        The Grand Jury charges:




        At all times relevant to this Indictment:

                                                The Defendants

        1.     Defendant ROBERT V. MATTHEWS ("R. MATTHEWS") was a real estate

developer and maintained personal residences in Connecticut and Florida.

        2.     Defendant LESLIE R. EVANS ("EVANS") was a real estate attorney and a resident

of Florida.

        3.     Defendant     MARIA             MATTHEWS,                also   known    as   Mia    Matthews

("M. MATTHEWS"), was married toR. MATTHEWS. M. MATTHEWS was an actress and

maintained personal residences in Connecticut and Florida with R. MATTHEWS.




                                                               1
        Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 2 of 19




                             Other Relevant Individuals and Entities

       4.      Nicholas Laudano ("Laudano"), who is charged separately, was a construction

contractor who worked as a contractor for the Palm House Hotel in Palm Beach, Florida. Laudano

also operated multiple pizza restaurants in Florida and Connecticut. Laudano controlled a number

of entities, including New Haven Contracting South Inc., NJL Development Group, LLC, NJL

Development Group Inc., and NJL Investments.

       5.      Gerry Matthews ("G. Matthews"), who is charged separately, owned and operated

a commercial real estate brokerage firm in Connecticut known as Matthews Commercial

Properties, LLC ("MCP"). G. Matthews maintained a savings account for MCP at Webster Bank

in Connecticut (the "MCP savings account"). G. Matthews is the brother ofR. MATTHEWS.

                                          EB-5 Funding

       6.      The EB-5 visa program ("EB-5 program") was a federal program by which foreign

nationals and their families were eligible to apply for lawful permanent resident status (commonly

known as a "green card") if they invested in a development project in the United States.

       7.      The particulars of the EB-5 program varied by project and location, but relevant to

this Indictment, an investor was entitled to apply for a green card if, among other requirements,

(1) the investor made a $500,000 investment in a development project in the United States and (2)

that project ultimately employed ten or more individuals.

       8.      Various entities in the United States acted as middlemen between potential foreign

investors and investment projects. South Atlantic Regional Center, LLC ("SARC") was one such

entity based in Palm Beach, Florida.




                                                2
           Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 3 of 19




       9.         SARC's primary function was to advertise EB-5 projects to foreign investors,

collect funds from foreign investors that were earmarked for certain development projects, and

make that funding available to the respective development proj'ect.

                                      The Palm House Hotel

           10.    The Palm House Hotel ("PHH") was located at 160 Royal Palm Way, Palm Beach,

Florida.

       11.        The PHH was one development project advertised by SARC to EB-5 investors in

or around 2012 through in or around 2014.

       12.       R. MATTHEWS was the developer in charge of the PHH development project.

       13.       R. MATTHEWS had a lengthy history with the PHH. He originally purchased the

property in August 2006. R. MATTHEWS lost the PHH in foreclosure in 2009. In August 2013,

R. MATTHEWS reacquired control of the PHH through an entity called Palm House, LLC. G.

Matthews, however, was listed as owning 99% of Palm House, LLC in its incorporation

documents.       "Minority Owner-1," whose identity is known to the Grand Jury, had secured

additional financing for R. MATTHEW,. and owned the remaining 1%.

       14.       Laudano continuously worked on the development and construction of the PHH as

a contractor beginning in or around 2006 through in or around 2016.

                                     The Wire Fraud Scheme

       15.       Beginning in or around 2012 and continuing through in or around January 2018, in

the District of Connecticut and elsewhere, R. MATTHEWS, EVANS, and others known and

unknown to the Grand Jury, knowingly and with intent to defraud, devised and intended to devise,

and participated in, a scheme and artifice to defraud and obtain money and property from SARC,


                                                 3
        Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 4 of 19




EB-5 investors, and others by means of materially false and fraudulent pretenses, representations

and promises, and in furtherance of that scheme used and caused to be used interstate wires.

        16.    The purpose of the scheme and artifice was for R. MATTHEWS, EVANS, and

others known and unknown to the Grand Jury to enrich themselves and their companies by

defrauding the EB-5 investors, SARC, and others out of money and property owned by and under

the control of the EB-5 investors, SARC, and others by means of materially false and fraudulent

pretenses, representations, and promises.

                          Manner and Means of the Wire Fraud Scheme

       The manner and means by which R. MATTHEWS, EVANS, their co-conspirators, agents,

and others known and unknown to the Grand Jury sought to accomplish and did accomplish the

objects of the wire fraud scheme included, among others, the following:

       17.     R. MATTHEWS, EVANS, their co-conspirators, agents, and others made several

material misrepresentations to SARC, prospective EB-5 investors, and/or Minority Owner-1,

including that (i) the proceeds of the investment from EB-5 investors would be used to develop

the PHH; (ii) certain well-known individuals would be on the PHH advisory board and certain

well-known entertainers, businesspeople, and politicians "will be a part of the club"; and (iii) G.

Matthews was a member of the Palm House, LLC management team and was the 99% owner of

Palm House, LLC.

       18.     Despite those misrepresentations to the contrary, in truth, and as R. MATTHEWS

and EVANS well     ~ew,   (i) R. MATTHEWS, EVANS, their co-conspirators, agents, and others

used EB-5 funding for purposes not related to the PHH project, including for the personal gain of

R. MATTHEWS and others; (ii) none of the proffered well-known individuals would be on the


                                                4
        Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 5 of 19




PHH advisory board or would be members of the club; and (iii) while G. Matthews was the

nominal 99% owner of Palm House, LLC, R. MATTHEWS controlled that company and it

belonged to G. Matthews in name only.

       19.     EB-5 investors invested in the PHH project by providing money to accounts

controlled by SARC. SARC, in turn, provided EB-5 money earmarked for use at the PHH either

(1) into an account in the name of 160 Royal Palm LLC at Regions Bank in Florida that was

controlled by R. MATTHEWS, EVANS, and their agents ("160 Royal Palm Account") or (2) into

EVANS' Interest on Trust Account that was used to maintain his clients' funds at First United

Bank in Florida (the "EVANS IOTA Account").

       20.     To use EB-5 funding for purposes not related to the PHH project, including for their

own personal gain and the gain of others, R. MATTHEWS, EVANS, their co-conspirators, agents,

and others wired EB-5 funds from the 160 Royal Palm Account and the EVANS IOTA Account

into and through various accounts, including the following:

              a.      G. Matthews' MCP Savings account located in Connecticut;

              b.      An account at First Bank of the Palm Beaches in Florida in the name ofNew

              Haven Contracting South, which account was controlled by Laudano (the "NHCS

              First Bank Account");

              c.      An account at Regions Bank in Florida in the name of New Haven

              Contracting South, which account was controlled by Laudano (the "NHCS Regions

              Account");




                                                5
        Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 6 of 19




              d.      An account at First Bank of the Palm Beaches in Florida in the name ofNJL

              Development LLC, which account was controlled by Laudano (the "NJL

              Development First Bank Account");

              e.      An account at Wells Fargo in Florida in the name of NJL Development

              Group, Inc., which account was controlled by Laudano (the "NJL Development

              Wells Fargo Account");

              f.      An account at Regions Bank in Florida in the name of Bonaventure 22 LLC,

              which account was controlled by R. MATTHEWS and M. MATTHEWS (the

              "Bonaventure Regions Account"); and

              g.      An account at Regions Bank in Florida in the name ofMirabia LLC, which

              account was controlled by R. MATTHEWS and M. MATTHEWS (the "Mirabia

              Regions Account").

       21.    G. Matthews, acting at R. MATTHEWS' direction, used the diverted EB-5 funds

in G. Matthews' MCP Savings account for the benefit ofR. MATTHEWS and G. MATTHEWS,

including by paying the credit card debts ofR. MATTHEWS and M. MATTHEWS and moving

the money into other accounts controlled by R. MATTHEWS and M. MATTHEWS.

       22.    In or around February 2014 and April 2014, R. MATTHEWS, EVANS, their co-

conspirators, agents, and others purchased the property located at 115 Lower Church Hill Road,

Washington Depot, Connecticut out of a foreclosure auction with EB-5 money diverted from the

PHH project by using a straw company, NJL Development Group, LLC, which was under the

control of Laudano.




                                              6
        Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 7 of 19




        23.       R. MATTHEWS and M. MATTHEWS used EB-5 funds in the Bonaventure

Regions Account and the Mirabia Regions Account to support their own and their family's

lifestyle, including but not limited to the purchase of a property located at 105 Lower Church Hill

Road, Washington Depot, Connecticut, in or around May 2014 and June 2014.

        24.       In or around June 2014, R. MATTHEWS and others purchased a one hundred and

fifty-one-foot yacht through a down payment made with EB-5 money and a loan as well as the use

of companies that were controlled by R. MATTHEWS and others.

                               Executions of the Wire Fraud Scheme

       25.       On or about the dates set forth in each count below, in the District of Connecticut

and elsewhere, for the purpose of executing and attempting to execute the aforementioned scheme

and artifice to defraud and to obtain money and property by means of materially false and

fraudulent pretenses, representations, and promises as described above, R. MATTHEWS and

EVANS did knowingly transmit and cause to be transmitted, by means of wire communication in

interstate and foreign commerce, certain writings, sings, signals an sounds, each wiring as set forth

below constitution a separate count of this Indictment:


 Count        Date      Description of Use of Interstate Wires

                        An email sent from R. MATTHEWS' email account in Florida to G.
 1            2/1114    Matthews' email account in Connecticut forwarding login instructions to
                        bid on the property at 115 Lower Church Hill Road.
                        A wire for $136,237.50 from the EVANS IOTA account in Florida to an
 2            2/3/14    account at Farmington Savings Bank in Connecticut for the purchase of
                        115 Lower Church Hill Road by NJL Development Group, LLC.
                        A wire in the amount of$8,592.40 ofEB-5 money sent from the 160 Royal
 3            2/5/14    Palm Account in Florida to the MCP Savings account in Connecticut.




                                                  7
          Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 8 of 19




  Count         Date       Description of Use of Interstate Wires

                           An email sent from an account in the name of an individual with the
                           initials M.P. in Connecticut to Laudano's email account in Florida with
 4              4/29114
                           documents related to the purchase of 115 Lower Church Hill Road, which
                           was purchased with EB-5 funds.
                           A check in the amount of $12,71 7 .46, which caused the use of interstate
 5              6/30/14    wires in moving money from the 160 Royal Palm Account in Florida to
                           the MCP Savings account in Connecticut.
                           A check in the amount of$10,837.86, which caused use ofthe interstate
 6              6/30/14    wires in moving money to move from the 160 Royal Palm Account in
                           Florida to the MCP Savings account in Connecticut.
                           An email sent from the account of an individual working for R.
                           MATTHEWS in Florida to G. Matthews' email account in Connecticut,
 7              10/20/14   blind copying R. MATTHEWS' email account and attaching a letter
                           relieving Minority-Owner-1 of his position as Manager of Palm House,
                           LLC.
                           An email sent from G. Matthews' email account in Connecticut to
 8              10/21114   EVANS' email account, appointing EVANS as the managing member of
                           Palm House LLC.

          All in violation of Title 18, United States Code, Section 1343 .

                                          COUNT NINE
                                    (R. MATTHEWS and EVANS)
                                           (Bank Fraud)

          26.      Paragraphs 1 through 25 of this Indictment are reincorporated as if fully set forth

herein.

                              Background on 115 Lower Church Hill Road

          27.      R. MATTHEWS purchased two properties in or around January 2001 for

$3,900,000: 115 Lower Church Hill Road and 101 Lower Church Hill Road, both in Washington

Depot, Connecticut. These purchases were initially financed with a $2,000,000 mortgage and two

lines of credit worth $400,000 and $375,000.



                                                    8
        Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 9 of 19




       28.     On or about May 24, 2004, R. MATTHEWS refinanced 115 Lower Church Hill

Road with Washington Mutual Bank for $3,600,000. That loan was later assigned to JPMorgan

Chase Bank NA ("JPMC"), a bank whose deposits were insured by the Federal Deposit Insurance

Corporation.

       29.     In or about September 2013, JPMC foreclosed on the loan and took ownership of

115 Lower Church Hill Road. That property was then placed for foreclosure sale at auction by

Ten-x d/b/a Auction.com (hereinafter "Auction.com").

                                    The Bank Fraud Scheme

       30.     Beginning in or about 2012 and continuing through in or about April 2016, in the

District of Connecticut and elsewhere, R. MATTHEWS, EVANS, and others known and unknown

to the Grand Jury, knowingly and with intent to defraud devised and intended to devise, and

participated in, a scheme and artifice to defraud JPMC, a federally insured financial institution,

and to obtain moneys, funds, credits, assets, and other property owned by or under the custody or

control of JPMC, by means of materially false and fraudulent pretenses representations, and

promises, and by means of omissions of material fact.

       31.     The purpose of the bank fraud scheme was to deceive JPMC, which had foreclosed

on R. MATTHEWS' property at 115 Lower Church Hill Road, into re-selling the property to R.

MATTHEWS, through a straw purchaser, at a significant loss, thereby permitting R.

MATTHEWS, M. MATTHEWS, and others to continue to live there and act as owners of the

property.




                                                9
       Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 10 of 19




                         Manner and Means of the Bank Fraud Scheme

       The manner and means by which R. MATTHEWS, EVANS, their co-conspirators, agents,

and others known and unknown to the Grand Jury sought to accomplish and did accomplish the

objects of the bank fraud scheme included, among others, the following:

       32.    R. MATTHEWS, EVANS, their co-conspirators, agents and others entered into an

arrangement among themselves and with Laudano whereby:

              a.      Laudano would purchase out of foreclosure, through a shell company, the

       property at 115 Lower Church Hill Road from JPMC at a significant discount, using EB-5

       money from R. MATTHEWS that R. MATTHEWS had diverted from the PHH project;

              b.      R. MATTHEWS would continue to live at the property with his family and

       to act as owner of the property; and

              c.      R. MATTHEWS, EVANS, and Laudano would conceal from JPMC the fact

       that Laudano was purchasing 115 Lower Church Hill Road with money provided by R.

       MATTHEWS and that R. MATTHEWS would control the property through Laudano,

       knowing that JPMC would not have sold the property to Laudano if they knew ofthe source

       ofthe funds and Laudano's relationship with R. MATTHEWS.

       33.    On or about February 3, 2014, R. MATTHEWS, EVANS, Laudano, their co-

conspirators, agents, and others established NJL Development Group, LLC in the state of

Delaware under the control of Laudano, with the intent to use NJL Development Group, LLC as a

shell company to conceal R. MATTHEWS' involvement and the source of funds in the purchase

of 115 Lower Church Hill Road.




                                              10
       Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 11 of 19




       34.     In or around February 2014, R. MATTHEWS, EVANS, Laudano, their co-

conspirators, agents, and others in fact arranged the purchase of 115 Lower Church Hill Road from

JPMC through the straw entity NJL Development Group, LLC, which was controlled by Laudano,

to conceal R. MATTHEWS' involvement in the transaction as well as the source of funds.

       35.     In or around February 2014, Laudano executed a sales agreement with JPMC to

purchase 115 Lower Church Hill Road. On page 5 of the sales agreement under section 5(i), the

parties to the sales contract agreed that JPMC had the right to terminate the agreement if the buyer

(Laudano and NJL Development Group, LLC) was the former mortgagor (R. MATTHEWS) of

the property whose interest was foreclosed/acquired by a deed-in-lieu of foreclosure, or is related

to or affiliated in any way with the former mortgager, and the buyer has not disclosed this fact to

the seller (JPMC) in writing prior to the seller's acceptance of the agreement. Notwithstanding

this provision, neither Laudano nor R MATTHEWS disclosed to JPMC their relationship or the

source of the purchase funds.

       36.     On or about February 3, 2014, R. MATTHEWS, EVANS, Laudano, their co-

conspirators, agents and others sent and caused to be sent a letter from EVANS to Auction.com.

In the letter, EVANS falsely and fraudulently represented to Auction.com that Laudano and his

companyNJL Development Group, LLC had provided $2,750,000.00 to EVANS, from which the

down payment for the property at 115 Lower Church Hill Road would be drawn. In fact, at no

point did either Laudano or NJL Development Group, LLC provide $2,750,000.00 to EVANS.

Instead, the down payment for the property came from comingled client funds in the EVANS

IOTA Account.




                                                11
       Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 12 of 19




       37.     On or about February 3, 2014, R. MATTHEWS, EVANS, their co-conspirators,

agents and others wired and caused to be wired $136,237.50 from the EVANS IOTA Account in

Florida to an account at Farmington Savings Bank in Connecticut for the down payment on the

property at 115 Lower Church Hill Road.

       38.     On or about April2, 2014, Laudano opened the NHCS First Bank Account.

       39.     On or about April 30, 2014, Laudano opened the NJL Development First Bank

Account.

       40.     On or about April 29, 2014, R. MATTHEWS, EVANS, Laudano their co-

conspirators, agents and others diverted $2,650,000 ofEB-5 money (earmarked for the PHH) from

the 160 Royal Palm Account to the NHCS First Bank Account.

       41.     On or about April 30, 2014, R. MATTHEWS, EVANS, Laudano, their co-

conspirators, agents and others transferred, and caused the transfer of, $2,655,000 from the NHCS

First Bank Account to the NJL Development First Bank Account.

       42.     On or about April 30, 2014, R. MATTHEWS, EVANS, Laudano, their co-

conspirators, agents and others wired, and caused the wiring of, $2,601,646 from the NJL

Development First Bank Account to a bank account in Connecticut to purchase the property at 115

Lower Church Hill Road.

       All in violation of Title 18, United States Code, Sections 1344 and 2.




                                               12
          Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 13 of 19




                                           COUNT TEN
                                   (R. MATTHEWS and EVANS)
                         (Conspiracy to Commit Wire Fraud and Bank Fraud)

          43.     Paragraphs 1 through 42 of this Indictment are reincorporated as if fully set forth

herein.

          44.     Beginning in or about 2012 through in or about January 2018, in the District of

Connecticut and elsewhere, R. MATTHEWS and EVANS, together with others known and

unknown to the Grand Jury, did knowingly combine, conspire, confederate, and agree together and

with each other, to commit offenses against the United States as follows:

                  a.     to devise and intend to devise a scheme and artifice to defraud and to obtain

          money and property by means of materially false and fraudulent pretenses, representations,

          and promises and for the purpose of executing and attempting to execute the scheme and

          artifice to knowingly transmit, and cause to be transmitted, by means of wire

          communication in interstate and foreign commerce, certain writings, signs, signals and

          sounds, in violation of Title 18, United States Code, Section 1343; and

                 b.      to devise and intend to devise a scheme and artifice to defraud JPMC, a

          federally insured financial institution, and to obtain money, funds, credits, assets, and other

          property owned by and under the custody and control of JPMC, by means of materially

          false and fraudulent, pretenses, representations, and promises, in violation of Title 18,

          United States Code Sections 1344(1) and (2).

          All in violation ofTitle 18, United States Code, Section 1349.




                                                    13
              Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 14 of 19




                                      COUNTS ELEVEN THROUGH SIXTEEN
                                           (R. MATTHEWS and EVANS)
                             (Illegal Monetary Transactions Using Wire Fraud Proceeds)

              45.      Paragraphs 1 through 44 of this Indictment are reincorporated as if fully set forth

    herein.

              46.      On or about the dates set forth in each count below, in the District of Connecticut

    and elsewhere, the defendant named in each count did knowingly engage, and aided and abetted

    and caused others to engage, in monetary transactions in criminally derived property of a value

    greater than $10,000 involving financial institutions that are engaged in, and the activities of which

    affect, interstate commerce, such property having been derived from a specified unlawful

    activity-namely wire fraud in violation of Title 18, United States Code, Section 1343-as

    follows:

     Count          Date           Defendant       Charged Monetary              Origin of Funds
                                    Charged           Transaction
;
       11           118/14       R.MATTHEWS      A $25,000 wire from       A transfer of $50,000 of EB-
                             I
                                                 the NHCS Regions          5 money from the 160 Royal
                                                 Account to G.             Palm Account into the
                                                 Matthews' MCP             NHCS Regions Account on
                                                 Savings account.          or about January 7, 2014.
       12       4/30/14          R.MATTHEWS      A $2,601,646.32 wire      A wire of $2,650,000 of EB-
                                     and         from the NJL              5 money from the 160 Royal
                                    EVANS        Development First         Palm Account to the NHCS
                                                 Bank Account to an        First Bank Account on or
                                                 account at Webster        about April29, 2014, and
                                                 Bank in Connecticut.      then a subsequent transfer of
       13           5/2/14       R.MATTHEWS      A $50,000 wire from       $2,655,000 from the NHCS
                                                 NJL Development- I        First Bank Account to the
                                                 Account to G.             NJL Development First
                                                 Matthews' MCP             Bank Account on or about
                                                 Savings account.          April30, 2014.




                                                        14
          Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 15 of 19




 Count           Date         Defendant         Charged Monetary              Origin of Funds
                               Charged             Transaction
    14          5/27114     R.MATTHEWS        A $100,000 wire from
                                              the Bonaventure
                                              Regions Account to a
                                              Webster Bank account
            I
                                              in Woodbury,
                                              Connecticut for the
                                              purchase of the
                                              property at 105 Lower
                                              Church Hill Road,
                                              Washington Depot,
                                              Connecticut.
                                                                        A transfer of$1,100,000 of
    15          6/23/14     R.MATTHEWS        A $454,715.53 wire
                                                                        EB-5 money from the 160
                                              from the Bonaventure
                                                                        Royal Palm Account to the
                                              Regions Account to a
                                                                        Bonaventure Regions
                                              Webster Bank account
                                                                        Account on or about May
                                              in Woodbury,
                                                                        27, 2014.
                                              Connecticut for the
                                              purchase of the
                                              property at 105 Lower
                                              Church Hill Road,
                                              Washington Depot,
                                              Connecticut.
   16           6/23/14     R.MATTHEWS        A $300,000 wire from
                                              the Bonaventure
                                              Regions Account to G.
                                              Matthews' MCP
                                              Savings account.

          All in violation of Title 18, United States Code, Sections 1957 and 2.

                                COUNTS SEVENTEEN THROUGH TWENTY
                                              (R. MATTHEWS)
                          (Illegal Monetary Transactions Using Bank Fraud Proceeds)

          47.       Paragraphs 1 through 46 of this Indictment are reincorporated as if fully set forth

herein.

          48.      In or about November 2014, several months following the purchase of 115 Lower

Church Hill Road from JPMC through straw buyer NJL Development Group, LLC, R.

                                                     15
        Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 16 of 19




MATTHEWS, his co-conspirators, agents, and others took out a loan secured by 115 Lower

Church Hill Road from an individual with the initials K.M.

        49.      On or about November 23 and 24, 2014, the loan proceeds were transferred from

an account at Webster Bank, which is a federally insured financial institution in Connecticut, to

various accounts controlled by Laudano, and then to several other accounts, all at the direction of

R. MATTHEWS, Laudano and other co-conspirators.

                           Transactions in Criminally Derived Proceeds

        50.      On or about the dates set forth in each count below, R. MATTHEWS did knowingly

engage, and aided and abetted and caused others to engage, in monetary transactions in criminally

derived property of a value greater than $10,000 involving financial institutions that are engaged

in, and the activities of which affect, interstate commerce, such property having been derived from

a specified unlawful activity-namely bank fraud in violation of Title 18, United States Code,

Section 1344-as follows:

Count          Date              Monetary Transaction                       Origin of Funds
 17           11/24/14   A $140,000 wire from an account at
                         Webster Bank in Connecticut to the          Proceeds from the loan
                         NHCS First Bank Account.                    secured by 115 Lower
   18         11/24/14   A $1,034,712.91 wire from an account at     Church Hill Road ("loan
                         Webster Bank in Connecticut to the NJL      proceeds").
                         Development Wells Fargo Account.
   19         11/28/14   A $100,000 wire from the Mirabia
                         Regions Account to an account at TD         A November 25, 2014 wire
                         Bank located in Connecticut.                of $825,000 in loan proceeds
  20          11/28/14   A $211,864.58 wire from the Mirabia         into the Mirabia Regions
                         Regions Account to an account at TD         Account.
                         Bank located in Connecticut.

        All in violation of Title 18, United States Code, Sections 1957 and 2.



                                                16
       Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 17 of 19




                                  COUNT TWENTY -ONE
                            (R. MATTHEWS and M. MATTHEWS)
                                      (Tax Evasion)

       51.     Paragraphs 1 through 50 are reincorporated as if fully set forth herein.

       52.     On May 16, 2014, Mirabia LLC was formed as a limited liability company under

the laws of the State of Delaware ("Mirabia Delaware"). Mirabia Delaware was formed at the

direction of R. MATTHEWS with one member, with initials "J.Y."                    J.Y. worked as

R. MATTHEWS' assistant. The same day, again at R. MATTHEWS' direction, J.Y. executed a

transfer of Mirabia Delaware to M. MATTHEWS, who then became its sole member. Mirabia

Delaware was controlled by R. MATTHEWS and M. MATTHEWS.

       53.     From in or about 2009 through in or about March 2017, in the District of

Connecticut and elsewhere, R. MATTHEWS and M. MATTHEWS willfully attempted to evade

and defeat the payment of income tax due and owing by them to the United States of America, for

the calendar years 2005 and 2007, and aided and abetted each other to do the same, by committing

the following affirmative acts, among others:

               a.     From in or about 2012 through in or about 2016, R. MATTHEWS and

       G. Matthews used the MCP Savings Account to pay R. MATTHEWS' and

       M. MATTHEWS' personal expenses.

              b.      In or about October 2013 and May 2014, R. MATTHEWS used EB-5

       investor funds that did not pass through an account in his name to pay back a personal loan

       he owed to an individual with the initials L.M.




                                                17
Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 18 of 19




        c.     From in or about February 2014 through in or about April 2014,

R. MATTHEWS, EVANS and others conspired to purchase 115 Lower Church Hill Road

out of foreclosure through the use ofNJL Development Group, LLC.

        d.     From in or about December 2013 through in or about March 2014,

R. MATTHEWS used funds from the EVANS IOTA Account to make mortgage and tax

payments associated with his personal residence in Palm Beach, Florida.

        e.     In or around May and June 2014, R. MATTHEWS and M. MATTHEWS

purchased a property located at 105 Lower Church Hill Road, Washington Depot,

Connecticut, in the name of Mirabia Delaware.

        f.     In or around November 2014, R. MATTHEWS and M. MATTHEWS

executed documents to obtain a loan secured by 115 Lower Church Hill Road from an

individual with the initials K.M. The proceeds of the loan were disbursed into the Mirabia

Regions Account where they were used for personal expenses of R. MATTHEWS and

M. MATTHEWS.

       g.      In or around March 2015, R. MATTHEWS and M. MATTHEWS executed

documents to obtain a loan secured by 105 Lower Church Hill Road, Washington Depot,

Connecticut from Highland Financial Associates in Connecticut. The proceeds of the loan

were disbursed into the Mirabia Regions Account where they were used for personal

expenses ofR. MATTHEWS andM. MATTHEWS.

       h.      On or about August 23, 2016, R. MATTHEWS and M. MATTHEWS

received notice from the IRS that a failure to pay their delinquent income tax liabilities by

September 2, 2016, would result in the seizure of all of their assets.         On or about


                                         18
       Case 3:18-cr-00048-VAB Document 39 Filed 08/29/18 Page 19 of 19




       September 2, 2016, R. MATTHEWS sold a Mercedes for $82,000 and, after paying off a

       lien, cause the proceeds of the sale to be wired into the EVANS IOTA Account.

       All in violation of Title 26, United States Code, Section 7201, and Title 18, United States

Code, Section 2.



                                                      /s/




DAVID E. NOVICK
ASSISTANT U.S. ATTORNEY




                                               19
